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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                             Case No. 12-10140-07


Javier Aldrete,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Aldrete’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Aldrete asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines which took effect on

November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July 18,

2014, the United States Sentencing Commission voted to apply the amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot

take effect until November 1, 2015.

      The Honorable J. Thomas Marten of the District of Kansas has appointed the Office of

the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under Amendment 782.          The record reflects that Mr. A l d r e t e has

previously been represented by retained counsel and it is unclear from the record whether his

financial circumstances have changed such that he is now indigent and would be entitled to have

the Federal Public Defender represent him in connection with his request for relief under
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Amendment 782. The court believes that the most efficient way to resolve the issue raised by

Mr. Aldrete is to forward Mr. Aldrete’s motion (along with a copy of this order) to the Office of

the Federal Public Defender for a determination of whether Mr. Aldrete qualifies for

representation.   In that regard, the court anticipates that the Federal Public Defender will

send to Mr. Aldrete a financial affidavit for Mr. Aldrete to complete and return to the Federal

Public Defender. If Mr. Aldrete is entitled to representation by the Federal Public Defender,

that office will determine in the first instance whether Mr. Aldrete is entitled to relief under

Amendment 782 and will seek such relief if Mr. Aldrete is eligible.           If the Federal Public

Defender determines that Mr. Aldrete is not entitled to representation by the Federal Public

Defender, or if the Federal Public Defender otherwise declines to seek relief for Mr. Aldrete

under Amendment 782, Mr. Aldrete may refile his motion on or after February 2, 2015.

       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Aldrete’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 309) is denied without prejudice

to refiling on or after February 2, 2015.

       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Mr. Aldrete’s pro se motion for reduction of sentence.
       IT IS SO ORDERED this 11th day of December, 2014.

                                                s/ J. Thomas Marten
                                               J. THOMAS MARTEN, CHIEF JUDGE
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